Case 1:17-cv-01038-MBH Document 5 Filed 08/04/17 Page 1of3

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In the Anited States Court of Federal Claungs

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STEVEN E. EDWARDS, :
Plaintiff, ‘ FILED
V * No. 17-1038C |
* Filed: August 4, 2017 AUG ~ 4 2017
UNITED STATES, * Ws Bounce
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Defendant. my FEDERAL CLAIMS
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ORDER

The court is in receipt of pro se plaintiff's submission to the United States Court of
Federal Claims on July 31, 2017. In addition, on July 31, 2017, the pro se plaintiff
submitted an application to proceed in forma pauperis. On the application to proceed in
forma pauperis, plaintiff first indicates that he is not incarcerated, however, plaintiff also
submitted a prisoner authorization form, which states in part:

By signing below, | acknowledge that:

1. because | filed this action as a prisoner, | am required by statute (28
U.S.C. § 1915) to pay the full filing fees for this case, even if | am granted
the right to proceed in forma pauperis (IFP), that is, without prepayment of
fees;

2, if | am granted IFP status, the $350 filing fee will be deducted in
installments from my prison account, even if my case is dismissed or |
voluntarily withdraw it.

(footnote omitted). Plaintiff signed the prisoner authorization form on July 27, 2017, four
days before filing his complaint. In addition, the application to proceed in forma pauperis
and the prisoner authorization form list as the case number: 1:05CR265-1, and as the
Judge: Osteen, both of which are not relevant to this court.".

To proceed with a civil action in this court, a prisoner must either pay $400.00 in
fees—a $350.00 filing fee plus a $50.00 administrative fee—or request authorization to
proceed in forma pauperis, and submit a Prisoner Authorization Form. See 28 U.S.C. §§
1914, 1915 (2012). When the person submitting a request to proceed in forma pauperis

 

1 The court notes that for the cover sheet to the complaint, plaintiff likewise listed the case
number as the 1:05CR265-1, and the judge’s name as Osteen.

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Case 1:17-cv-01038-MBH Document5 Filed 08/04/17 Page 2 of 3

is a prisoner, 28 U.S.C. § 1915(a)(2) requires that the prisoner submit, along with the
affidavit required by subsection (a)(1), a certified copy of:

[T]he trust fund account statement (or institutional equivalent) for the
prisoner for the 6—month period immediately preceding the filing of the
complaint or notice of appeal, obtained from the appropriate official of each
prison at which the prisoner is or was confined.

28 U.S.C. § 1915(a)(2); see also Matthews v. United States, 72 Fed. Cl. 274, 277 (2006),
recons. denied 73 Fed. Cl. 524 (2006). In the affidavit required under 28 U.S.C.
§ 1915(a)(1), a prisoner must further “state the nature of the action, defense or appeal
and affiant’s belief that the person is entitled to redress.” 28 U.S.C. § 1915(a)(1).

Plaintiff submitted his complaint to the court without paying the $400.00 filing fee
or submitting the trust fund account statement with his application to proceed in forma
pauperis, if he is still incarcerated. As a result of this deficiency with plaintiff's submission
to the court, the above-captioned case is DISMISSED, without prejudice.” If plaintiff, as
it appears from his complaint, is not a prisoner and plaintiff wishes to refile his complaint
in this court, plaintiff should not include a prisoner authorization form with his application

to proceed in forma pauperis.

The court notes that to the extent plaintiff is complaining about an earlier criminal
case, his plea agreement, and his subsequent incarceration, this court lacks jurisdiction
to adjudicate those claims. See Joshua v. United States, 17 F.3d 378, 379 (Fed. Cir.
1994): see also Cooper v. United States, 104 Fed. Cl. 306, 312 (2012) (holding that “this
court does not have jurisdiction over [plaintiff's] claims because the court may review
neither criminal matters, nor the decisions of district courts.”) (internal citations omitted);
Mendes v. United States, 88 Fed. Cl. 759, 762, appeal dismissed, 375 F. App'x 4 (Fed.
Cir. 2009); Hufford v. United States, 87 Fed. Cl. 696, 702 (2009) (holding that the United
States Court of Federal Claims lacked jurisdiction over claims arising from the violation
of a criminal statute); Matthews v. United States, 72 Fed. Cl. 274, 282 (finding that the
court lacked jurisdiction to consider plaintiff's criminal claims), recons. denied, 73 Fed. Cl.
524 (2006); McCullough v. United States, 76 Fed. Cl. 1, 4 (2006) (finding that the court
lacked jurisdiction to consider plaintiff's criminal claims), appeal dismissed, 236 F. App’x

 

 

2 Regarding a prior case plaintiff filed in the United States Court of Federal Claims, plaintiff
states in his complaint in the above captioned case, “[o]Jn December 11, 2013 | filed an
application to proceed in a forma [sic] pauperis. This alone proves Judge Wheeler knew
some or all of my accusations were proven in my civil rights complaint and a lot of things
that had been done to me by the United States of America through this Documents was
done illegally or incorrectly.”. The court notes that the mere filing of an application to
proceed in forma pauperis does not prove the merits of plaintiff's earlier case. Nor does
the fact that Judge Wheeler, in the same opinion dismissing plaintiff's case for lack of
subject matter jurisdiction, granted plaintiff's application to proceed in forma pauperis
demonstrate that Judge Wheeler agreed with plaintiff's accusations against the
government or that his current application to proceed in forma pauperis is valid.

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Case 1:17-cv-01038-MBH Document5 Filed 08/04/17 Page 3 of 3

615 (Fed. Cir.), reh’g denied (Fed. Cir.), cert. denied, 552 U.S. 1050 (2007). Therefore,
in addition to considering how to correctly submit an application to proceed in forma
pauperis in this court, plaintiff should review whether if this court is the proper forum for
plaintiff to file his complaint.

 

IT IS SO ORDERED.

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~~“MARIAN BLANK HORN
Judge
